                                      UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF MISSOURI
                                                   WESTERN DIVISION


UNITED STATES OF AMERICA                                                 §     JUDGMENT IN A CRIMINAL CASE
                                                                         §
v.                                                                       §
                                                                         §     Case Number: 4:15-CR-00358-DGK(1)
JONATHAN J. MONSHOWER                                                    §     USM Number: 28171-045
                                                                         §     Marc Ermine, AFPD
                                                                               Defendant’s Attorney
                                                                         §
         The defendant:
☒ pleaded guilty to count(s) One of the Indictment on March 28, 2016.

         The defendant is adjudicated guilty of these offenses:

Title & Section / Nature of Offense                                      Offense Concluded                         Count
Felon in Possession of a Firearm
18 U.S.C. §§ 922(g)(1) and 924(a)(2)                                     10/21/2015                                1




        The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  October 6, 2016
                                                                  Date of Imposition of Judgment




                                                                  /s/ Greg Kays
                                                                  Signature of Judge

                                                                  GREG KAYS
                                                                  CHIEF UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  October 6, 2016
                                                                  Date




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DEFENDANT:                JONATHAN J. MONSHOWER
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                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

108 months as to count 1, consecutive to any term of imprisonment imposed in Jackson County, Case No. 1016-CR03380-01.

☒ The court makes the following recommendations to the Federal Bureau of Prisons:
        Defendant be designated to a facility located in Leavenworth, Kansas.



☒ The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                   to ____________________________


at                                     , with a certified copy of this judgment.




                                                                      U.S. MARSHAL



                                                                By:
                                                                      DEPUTY U.S. MARSHAL




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                                                 SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of : three (3) years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

☐ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
☒     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.          (Check, if applicable.)

☒ The defendant shall cooperate in the collection of DNA as directed by the probation officer.        (Check, if applicable.)


        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1.   The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.   The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3.   The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4.   The defendant shall support his or her dependents and meet other family responsibilities;

5.   The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
     acceptable reasons;

6.   The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7.   The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8.   The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9.   The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
     of a felony, unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
    of any contraband observed in plain view of the probation officer;


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11. The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court; and

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
    criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
    confirm the defendant’s compliance with such notification requirement.


                                  SPECIAL CONDITIONS OF SUPERVISION
         The defendant shall also comply with the following additional conditions of supervised release:

1.   Successfully participate in any substance abuse counseling program, which may include urinalysis, sweat patch, or Breathalyzer
     testing, as approved by the Probation Office and pay any associated costs as directed by the Probation Office.

2.   Successfully participate in any mental health counseling program, as approved by the Probation Office, and pay any associated
     costs, as directed by the Probation Office.

3.   The defendant shall submit his person and any property, house, residence, office, vehicle, papers, computer, other electronic
     communication or data storage devices or media and effects to a search, conducted by a U.S. Probation Officer at a reasonable
     time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
     release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
     may be subject to searches pursuant to this condition.

4.   Satisfy any warrants/pending charges within the first 90 days of supervised release.

5.   The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
     participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in compliance with the
     condition of supervision requiring full-time employment at a lawful occupation, the defendant may be required to perform
     up to 20 hours of community service per week until employed, as approved or directed by the probation officer.



                                   ACKNOWLEDGMENT OF CONDITIONS
        I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have been
provided a copy of them.

         I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.


_______________________________________                ____________________
DEFENDANT                                              DATE

________________________________________               ____________________
UNITED STATES PROBATION OFFICER                        DATE




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                                     CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule of
Payments.
                                                  Assessment                                Fine                        Restitution
TOTALS                                                $100.00                                $.00                               $.00


        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
    before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
    Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
    committed on or after September 13, 1994, but before April 23, 1996.




                                             SCHEDULE OF PAYMENTS
        Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

            Total assessment of $100.00 due immediately.



         Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court. The defendant shall receive credit for
all payments previously made toward any criminal monetary penalties imposed.




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